                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION
       __________________________________________
                                                  )
       STATE OF TEXAS, STATE OF                   )
       LOUISIANA                                  )
                                                  )
                               Plaintiffs,        )
             v.                                   ) No. 6:21-cv-00016
                                                 )
       UNITED STATES OF AMERICA, et al.          )
                                                 )
                               Defendants.       )
       __________________________________________)

                 NOTICE OF SERVICE OF ADMINISTRATIVE RECORD
       Defendants hereby provide notice that they served the administrative record on Plaintiffs’

counsel on September 8, 2021. With this notice, Defendants also attach (1) the certification of the

administrative record in this action; and (2) the index of the contents of the administrative record.

See Attachments.



Dated: September 8, 2021                      Respectfully submitted,

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                                              Acting Assistant Attorney General


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                                              Assistant Branch Director

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                               CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on September 8, 2021.


                                            /s/ Adam D. Kirschner
                                            ADAM D. KIRSCHNER




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